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 1                      UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 2

 3                                           ) Case No.:
     LARRY SMITH,                            )
 4
                                             )
 5                 Plaintiff,                )
                                             )
 6         v.                                )
 7
                                             )
     CREDIT ACCEPTANCE                       ) JURY TRIAL DEMANDED
 8   CORPORATION,                            )
                                             )
 9
                      Defendant.             )
10

11                                     COMPLAINT
12
           LARRY SMITH (“Plaintiff”), by and through his attorneys, KIMMEL &
13
     SILVERMAN, P.C., alleges the following against CREDIT ACCEPTANCE
14

15
     CORPORATION (“DEFENDANT”):

16
                                     INTRODUCTION
17

18
           1.      Plaintiff’s Complaint is based on Defendant’s repeated violations of

19   the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and
20
     the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA).
21

22

23                              JURISDICTION AND VENUE

24         2.      Jurisdiction of this Court arises pursuant to 15 U.S.C. §1692k(d),
25
     which states that such actions may be brought and heard before “any appropriate
26

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                                   PLAINTIFF’S COMPLAINT
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 1   United States district court without regard to the amount in controversy,” and 28
 2
     U.S.C. §1331 grants this court original jurisdiction of all civil actions arising
 3
     under the laws of the United States.
 4

 5           3.      Defendant regularly conducts business in the Commonwealth of

 6   Pennsylvania, thus, personal jurisdiction is established.
 7
             4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 8

 9

10                                          PARTIES
11
             5.      Plaintiff is a natural person residing in Clarks Summit, Pennsylvania
12
     18411.
13

14
             6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1692

15   a(3).
16
             7.      Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
17
             8.      Defendant is a corporation with its principal place of business located
18

19   at 25505 West 12 Mile Road, Suite 3000, Southfield, Michigan 48034.

20           9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C.
21
     §1692a(6), and sought to collect a debt from Plaintiff.
22
             10.     Defendant is a “person” as that term is defined by 47 U.S.C.
23

24   §153(39).

25

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 1         11.    Defendant acted through its agents, employees, officers, members,
 2
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3
     representatives, and insurers.
 4

 5

 6                                FACTUAL ALLEGATIONS
 7
           12.    Plaintiff has a cellular telephone number that he has had for at least
 8
     two years.
 9

10         13.    Plaintiff has only used this number as a cellular telephone number.
11
           14.    By way of background, Defendant began contacting Plaintiff in 2014
12
     on his cellular telephone.
13

14
           15.    Desiring to stop the calls, Plaintiff spoke with Defendant when the

15   calls first began in 2014 and revoked any consent that may have been given to
16
     Defendant to call his cellular telephone number.
17
           16.    However, these calls continued, and between August 2015 and
18

19   August 2016, Defendant placed repeated harassing telephone calls to Plaintiff on

20   his cellular telephone in their attempts to collect an alleged debt.
21
           17.    As Defendant knew its calls were unwanted, there was no lawful
22
     purpose to continue calling Plaintiff during this time period, nor was there any
23

24   good faith reason to place calls.

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 1           18.   When contacting Plaintiff on his cellular telephone during this time,
 2
     Defendant used an automatic telephone dialing system.
 3
             19.   The automated calls begin with a pre-recorded voice: “Please hold”
 4

 5   before calls were transferred to live agents.

 6           20.   Defendant’s telephone calls were not made for “emergency purposes;”
 7
     rather, Defendant was attempting to collect an alleged balance due on his auto
 8
     loan.
 9

10           21.   Finally, in order to get the calls to stop, Plaintiff had no other option
11
     but to block calls from their numbers using a blocking application.
12

13

14
                                 COUNT I
             DEFENDANT VIOLATED §1692d and §1692d(5) OF THE FDCPA
15
             22.    A debt collector violates § 1692d by engaging in any conduct the
16

17   natural consequence of which is to harass, oppress, or abuse any person in
18   connection with the collection of a debt.
19
             23.   A debt collector violates § 1692d(5) by causing a telephone to ring or
20
     engaging any person in a telephone conversation repeatedly or continuously with
21

22   intent to annoy, abuse, or harass any person at the called number.
23
             24.   Defendant violated §§ 1692d and 1692d(5) when it placed repeated
24
     harassing telephone calls to Plaintiff’s cellular telephone, often multiple calls per
25

26
     day even though Plaintiff repeatedly requested their calls to stop.

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 1                            COUNT II
             DEFENDANT VIOLATED THE TELEPHONE CONSUMER
 2
                           PROTECTION ACT
 3
           25.    Plaintiff incorporates the forgoing paragraphs as though the same
 4

 5   were set forth at length herein.

 6         26.    Defendant initiated automated calls to Plaintiff using an automatic
 7
     telephone dialing system.
 8
           27.    Defendant’s calls to Plaintiff were not made for emergency purposes.
 9

10         28.    Defendant’s calls to Plaintiff after his revocation in 2014 were not
11
     made with Plaintiff’s prior express consent.
12
           29.    Defendant’s acts as described above were done with malicious,
13

14
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights

15   under the law and with the purpose of harassing Plaintiff.
16
           30.    The acts and/or omissions of Defendant were done unfairly,
17
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
18

19   lawful right, legal defense, legal justification or legal excuse.

20         31.    As a result of the above violations of the TCPA, Plaintiff has suffered
21
     the losses and damages as set forth above entitling Plaintiff to an award of
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     statutory, actual and trebles damages.
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 1         WHEREFORE, Plaintiff, LARRY SMITH, respectfully prays for a
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     judgment as follows:
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                 a.    All   actual    damages   suffered   pursuant    to    15   U.S.C.
 4

 5                     §1692k(a)(1);

 6               b.    Statutory damages of $1,000.00 for the violation of the FDCPA
 7
                       pursuant to 15 U.S.C. §1692k(a)(2)(A);
 8
                 c.    All reasonable attorneys’ fees, witness fees, court costs and
 9

10                     other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
11
                       §1693k(a)(3);
12
                 d.    All actual damages suffered pursuant to 47 U.S.C. §
13

14
                       227(b)(3)(A);

15               e.    Statutory damages of $500.00 per violative telephone call
16
                       pursuant to 47 U.S.C. § 227(b)(3)(B);
17
                 f.    Treble damages of $1,500.00 per violative telephone
18

19                     call pursuant to 47 U.S.C. §227(b)(3);

20               g.    Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
21
                 h.    Any other relief deemed appropriate by this Honorable Court.
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 1                            DEMAND FOR JURY TRIAL
 2
            PLEASE TAKE NOTICE that Plaintiff, LARRY SMITH, demands a jury
 3
     trial in this case.
 4

 5                                   Respectfully submitted,

 6   Dated: August 12, 2016         By: /s/ Amy L. Bennecoff Ginsburg, Esq.
 7
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